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State Court Documents

Exhibit C

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1. Plaintiff’s Original Petition

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Filed

12!30/2014 3:09:01
Patti L. Henry
District C|erk
Cham!bers County, Texas
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By:

    

c:é»;o'srz“‘m")": CVQQ°Q°

IN THE DIS'[`RICT COURT OF

3.

HANKAMER VENTURES, Ll’

w

VS. CHAMBERS COUNTY, 'YEXAS

:(-

MARKEL lNTERNATIONAL msuRANCE
COMPANY, LTo, PRoAcTwl-; cLAiMS
sERvicE, lNc. ana c;uLF coAsT cLAlrv¢s
SERVICE oF 1-10 uSToN, iNc. * 253'°‘ .roorclAL morch

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H.

PLA!NT!FF’S ORlGlNAL l’ETlTION

TO TI~IE HONORABL!`;' COURT: '

COMES NOW, HANKAMER VENTURES, LP, l’laimil"l" in the abovc-Slyled matter
and files this Ori§.;inol Petition complaining oi"Del"cndams, MARKEL INTERNATIONAL
INSURANCE COMPAN\', l..'l`l), (hcreinuficr referred to as "MARKEL
INTERNATIONAL"), PROACT!VE CLAIMS SERV}CE, INC., (hereinal`ter referred to as
"PROACT]VE CLA~ll\‘lS"), and GULF CUAST CLAIMS SERVICE ()F HOUSTON, lNC.,
(hereinaf"ler referred lo as "GULF COAST CLAIMS") and for cause of action show the Court
the following

IjISCOVEllY CONTROL- I’LAN
l. Plaintiff imc-nds to conduct Levol 3 discovery under 'I`cxas Rnles of Civil Proceciure 190.
This case involves complex issues and will require extensive discovery Therefore, Plaintif£" asks
the Courl to order thai discovery bc conducted in accordance with a discovery control plan
tailored 10 the particular circums\ances ol"lhis suit.

PARTIES

2. PlaintiH`. HANKAM ER VEI\"I`URES, LP, is a 'l`cxas Corpora£ion doing business in
I~Iankamer, Chambers Counly, Te.\;as.
3. Dc!`endanf, MARKEL INTERNATEONAL lNSURANCE COMPANY, LTD_. is an

insurance company registered and doing business in the slate of Texas_. but who does not

 

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maintain a registered agent for Service ol" process in this state By virtue of not having a
registered agent in this state: said Del"endant has designated the 'l`e:\'as Commissioner of
insurance as its agent i`or service As such, the Dei`endant_ MARKEL. fN'l`ERNATIONAL
INSURANCE COMI’ANY L'E`D, may be served with process by certified maii return receipt
requested through any oH'tcer ol` the company at 452! l~|ighwoods Parkway, Glen Alien, Virginia
23060-6148. Said Defendant can be served through the Texns Commissioner of lnsurance, to
wit: Mikc Gccslin, 333 Guadaiupc Sl._. Suite 2-510, Austin, 'I`X 7870|.
4. Dei`cndant, PROACTEVE CLAIMS SERV{CE, [NC.z is a 'l`exas corporation and an
insurance adjusting tinn/eompanyfadniinistrntor registered and doing business in the state of
Texas, and may be served through their registered agent, to \vil: Dou.glas Quintero: 581 l St\ddle
Bred Drive, Houston, Texas 77084.
5. Def`endant,` GULF COAST CLAIMS SERVECE ()F HOUSTON, INC., is a Te.~<as
corporation and an insurance adjusting i`trmi'company/administrator registered and doing
business in the state of"l`cxas, and may be served througl'i their President and Generai Managcr,
to wit: Johnny Michalek, Sr., l ESOS Chimney Rock Road, I-Iouston__ 'I`e)tas 77035.

VENUE ANI) JURlSl)!C'I`lON
6. Suit is proper in Charnbers County, Texas because all or a substantial part of the events
giving rise to the lawsuit occurred in this county and the insured property is located in Chambers
County, "l`e.\'as. 'l`EX. CIV. PRAC. & REM. CODE. 15.032. in addition, the court has
l jurisdiction over Dei"cndants because De|`endants are citizens ol’tlie State of` Texas and/or
engages in the business of insurance in the Statc ol"Texas and the cause of action arises out ol`
Defendants’ business activities in the Stntc oI`Te);as. Also, damages sought are for monetary
relief over $100,000.00: but not more than $500_.000.00 and a demand forjudgment for all other
relief to which l"’laintili7 deems entitled

FACTUAL BACKG ROUND

7. Plaintif`f was the owner oi`Te.\'as Commereial Fire Insurzmcc Policy number MV 01187

issued by Dei`endant, MARKEL ]NTERNATIONAL, ( hereinafter referred to as “the policy”).

 

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Plaintifi` owns the insured property {ltereinafter referred to as “the property”)_. which is
specifically located at 7317 Highway 61, Hankamer, Chambers County, Texas.

8. Det"cndant, MA-RKEL INTERNAT!ONAL, sold the policy, insuring the property, to
Plaintifi`.

9. Plaintil"f submitted a claim to Del`endant, MARKEL INTERNATl()NAL, with a date ol`
loss of March 20, 2012: for damage to the buildin_g, building property_. lost inventory and lost
business income as a result ol` a tire.

lll. Defenda'nts assigned claim number GClZUSl 8 to l‘laintifl"s claitn.

ll. Del`endauts failed to adjust the claims and summarily denied at least a portion ol"the
claims without an adequate investigation Del`endants through their adj ustcr(s), agent(s),
servant(s) and/or cmployce(s), analyzed and directed that a portion oi" Plaintili"s claims be
denied/delayed

12. Def"endants wrongfully denied Plaintil"l"’s claim For repairs of the property7 even though
the policy provided coverage for the losses such as those suf‘l"ered by Plaintifi".

13. Defendants failed to perform its contractual duty to adequately and timely compensate
Plaintiii` under the temis ol" the policy. Del`ertdants failed and refuse to pay the full proceeds Of
the policy in a timely manner__ although due demand was made l`or proceeds to bc paid in an
amount sufficient to cover the damaged property and all conditions precedent to recovery upon
the policy had been carried our and accomplished by Plaintil`f. Such conduct constitutes breach
ol` the insurance contract between Plaintil`fand Del`endants.

lL'l. Defendants misrepresented to Plaintirl" that the damage to the property was not covered
under the policy, even thouin the damage was caused by a covered occurrence Del`cndants'
conduct constitutes violations ol" the 'I`e.\'as Unfair Competit'ion and Unt`air Practices Act. TEX.
INS. CODE. Section 541.060(1).

lS. Defendants failed to make an attempt to settle Plaintit‘l"'s claims in a fair and timely
manner, although they were aware of their liability to Piaintiff under the policy Defendants'

conduct constitutes violations ol` thc 'l`e.\;as l,lnl`air Competitiort and Uni`air Practices Act. 'I`EX.

 

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INS. CODE Se_etion 541.060(2).

16. Dei`endants failed to explain to P]aintifi`the reasons l`or their excessive and unreasonable
delay as weil as their inadequate settlement otTer. Specilicall_v, Dci`cndants Faiied to timely offer
Piaintif’l` adequate compensation, without any explanation why Ii.ill payment was not being tnade.
Furtherrnore, Dei"endants did not communicate that any future settlements or payments would be
forthcoming to pay For the entire losses covered under the policy(ies), nor did they provide any
explanation for the failure/refusal to adequately settle Plaintii`l"’s claim. Dchndants' conduct
constitutes vioiations ot` the Te.\:as Unl`air Competition and Uni`air Practices Act. TEX. lNS.
CODE Scction 541.060{3).

17. Del"endants failed to affirm or deny coverage ol" Piaintifl”s claims within a reasonable
time. Specif'ically, Plaintif`i" did not receive timely indication ofacceptancc or rejection,
regarding the f`ull and entire ciaims, in writing l`rom Dcfendants. Defendants' conduct constitutes
violations of the Texas Unfair Compelition and Uni`air Practiccs Act. TEX. INS. CODE Sec-tion
541.060(4).

IS. Def"endants faded/refused to fully compensate I’Iaintif"i" under the terms of" the poiicy, even
though Dcf`endants l?aiIed to conduct a reasonable investigation Specifical|y, Dei`endants
performed an outcome - oriented investigation of" Plaintii"f”s claim_. which resulted in a biased,
unfair and inequitable evaluation of Plaintil’i"s losses on the property Dc{`cndants` Conduct
constitutes violations Of the lean Unf`air Contpetition and Unl"air Practices Act. 'l`EX. lNS.
CODE Section 541.060(4).

19. Del`endants failed to meet its obligations under tlie 'l`exas insurance Codc regarding
acknowledging Plaintif"f"s claims, beginning investigations into!of` Plaintili"s claims and
requesting all information reasonably ncccssar}r to investigate Plaintil’f'"s ciairns within fifteen
(15) days of receiving notice of Plaintif{“s elaims. Def"endants' conduct constitutes a violation of`
the Texas Prompt Paycnent of Clairns Act. TEX. INS. CODE ANN. Section 542.055-

20. Dcl"endants failed to accept or deny Piaintifi"'s i"uil and entire claims within fifteen (15)

business days of receiving all required information Defendants' conduct constitutes a violation

 

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ofthe Tcxas Frontpt Payntent of` Clairns ACI. TEX. lNS. CODE ANN. Section 542.056.
21. Def`endants failed to meet its obligations under the Te.\'as insurance Code regarding
payment ol` claims without delay. Speciiically, Dei`endants have delayed full payment of`
Plaintil"l"s claims longer than allowed Def"cndants' conduct constitutes a violation of the Texas
Prompt Paymcnt ol` Claims Act. 'I`EX. lNS. CODE ANN. Section 542.055.
22. From and after the time Plaintil"l"s claims were presented to Del"endants, the liability of
Del`endants to timely pay the foil ciaim{s) in accordance with the terms of the policy was
reasonably clean l-Iowever, Dcl`cndants have refused to timely pay PlaintitT in full despite there
being no basis whatsoever on which a reasonable insurance company would have relied on to
delay/deny the full payment. Dclcndnnts' conduct constitutes breaches ofthc common law duty
ol`good faith and l`air dealing
23. As a result of Dcf`endants` acts and omissions, Plaintil’l` was forced to retain the attorney
who is representing Plaintii‘i` in this cause of action
24. Plaintill"s experience is nolan isolated casc. '1` he acts and omissions Defendants
committed in this case, or simiiar acts and omissions: occur with such frequency that they
constitute a general business practice ol" Det-`endants with regard to handling these types ol`
claims. ll)ei”end.mnsf entire process is unfairly designed to reach favorable outcomes for the
company at the expense of the policyholders

CAUSES OF ACTEON
25. Del`endants are liable to PlaintiIT for intentional breach ot`contract, as well as intentional
violations oi` the Texas Unfair Competition and Unf`air Practiccs Act, the Texas Proinpt Payment
of'Claints Act_. and intentional breach of"the duty ol` good faith and l'"airdealing. Dcl`endants
through their adjuster(s), agent(s), scrvant(s) and/or employee(s), are liable to Plaintii’f` i`Or
intentional violations ofthe 'l`csas Unl`air Competition and Unl`air Practices Act: and the Tcxas

Deception 'l`rade Practice Aet.
BREACH OF CONTRACT

26. Def`cndants' conduct constitutes a breach ofthe insurance contract made between Plaintii’l`

 

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and Defendants.

27. Defcndants' failure/refusal_. as described above, to timely pay the adequate compensation
as it is obligated to do under the terms of the policy in question and under the laws of the State of
'l`exas: constitutes breaches ol"the insurance contract \\a`th Plaintifl`_

NONCOMPLIANCE 'WITH TEXAS INSURANCE CODE CHAPTER 541:

“UNFAIR COM]’E'l`lTEON ANI) UNFAIR l’RACTfCES ACT”

28. Del"endants‘ conduct constitutes multiple violations of the Texas Unfair Competition and
Unfair Practices Act. 'l`EX. INS. CODE Chapter 541. All violations under this article are made
actionable by 'l`EX. lNS. CODE Scclion 541.15]_
29. Dcfcndants' unfair practice, as described abovc, of misrepresenting to Plaintifl" material
facts relating to the coverage at issue, constitutes an unfair method of competition and an unfair
and deceptive act or practice in the business ol`insurancc. TEX. lNS. CODE Sections 541.051,
541.060 and 541_061_
30. Defendants‘ unfair settlement practice as described above, of failing to attempt in good
faith to effectuate a prompt, fair and equitable settlement of the elairns, even though Defendants’
liability under the policy was reasonably clean constitutes an unfair method of competition and
an unfair and deceptive act or practice in the business of insurance TEX. lNS. CODE Sections
541.051, 541.060 and 541.061.
31. Defendants' unfair settlement practice, as described above, of failing to promptly provide
Plaintiff with a reasonable explanation of the basis in the policy_. in relation to the facts or
applicable law, for their offer ofa compromise settlement of the claims_. constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business ol" insurance
'I`EX. INS. CODE Sections 541.051, 541.060 and 541.06l.
32. Del"endants' unfair settlement practice, as described above, of failing within a reasonable
time to affirm or deny coverage of the claims of Plaintif"f or to submit a reservation of rights to
Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or practice

in the business ofinsurance. 'I`EX. lNS. CODE Sections 541.051, 541.060 and 54l .061.

 

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33. Dei`cndants' unfair settlement practice, as described above, of refusing to pay Plaintifl"s
claims without conducting a reasonable investigation, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance 'l`E.X. lNS. CO!)E Scctions 541_051__ 541.060 and 541.06l.
34. Det`cndants’ unfair settlement practicc, through their ad_iuster(s), agent(s), servant(s)
and/or employee(s), as described abo\-'c, ol" failing to adequately adjust Piaintit"“l""’s losses and
failing to conduct a reasonable investigation constitutes an unfair method of competition and an
unfair and deceptive act or practice in the business ol" insurance TEX. INS. CODE Sections
541.051, 541.060 and 541 .061.
NONCOM|’LIANCE WlTH 'I`EXAS INSURANCE CODE CHAPTER 542:
“THE PROMPT PAYMENT OF CLAlMS ACT”
35. Del`enclants' conduct constitutes multiple violations of the Texas Prompt Pa'yme`nt ol"
Claims Act. TEX. lNS. CODE Chapter 542. All violations made under this article arc made
actionable by TEX. INS. CODE Section 54?..060.
36. Del`endants' failure7 as described above, to acknowledge receipt of Plaintiff"s claims
commence investigation of`thc claims, and request front Plaintif¥ all items, statements and forms
that they reasonably believed would be required within the applicable time constraints
constitutes a non-payment of the claims 'l`EX. INS. CODE Sections 542.055-542.060.
37. Def`endants' delayr of payment of Plaintil`f"s claims as described above, following its
receipt of all items, statements, and forms reasonably requested and required, longer than the
amount of time provided for, constitutes a non-prompt payment of the claims 'I`EX. lNS, CODE
Sections 542.055~542.060.
BREACH OF`THE l)U'l`Y OF' COOD FAITI-I AND FAlR DEALING
38. Defendants' conduct constitutes a breach ofthe common law duty ofgood faith and fair
dealing owed to the insured in insurance contracts /
39. Det`cndants' l"ailure, as described above, to adequately and reasonably investigate and

evaluate Plain£iii°"s claims, although at that time Dcl'endants knew or should have known by the

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exercise of reasonable diligence that its liability was reasonably elear, constitutes a breach ol` the
duty of`good faith and fair dealingl
KNOWLEDGE A:\'D lNTli.NT

40. Each of the acts described above, together and singularly, was done “knowingly” arid
“intcntionally" and was a producing cause ot" Plaintil"l"s damages described hereln.

TEXAS I)ECEPTIVE TRAI)E PRACTICES ACT
41. i:`,ach ol’ the acts described above, together and singularly, constitute a violation ol" the
'l`exas Deceptive Tradc Practices Act pursuant to its tic-in provision l`or lnsurance Code
violations Accordingly, i’laintit'l" also brings each and every cause ol` action alleged above under
the 'I`cxas Dcceptivc 'l`rade Pructices Act pursuant to its tie-in provision
42. Det`endants' actions_. as described, also constitute violations ol" the Te.\:as Deceptive 'l`rade
Practices Act._ independently ot`its tie-in provisions At all times material hercto, Plaintif'l` was a
consumer who purchased a commercial fire insurance policy l`rorn Dcl`endants. Def`endants have

violated the 'l`cxas Deccptive 'l`rade Praetices Act in the following ntanners:

a. Representing that the goods or services in question had sponsorship,
approval, chamcteristicsz ingredients uses_. benefits, or quantities that it did not havc;

b. Representing that an agreement confers or involves rights, remedies, or
obligations that it does not have or involve, or that are prohibited by la\v;

c. Failing to disclose information about the goods or services in question that
was knovm at the timc\of tire transaction and the failure to disclose was intended to induce
Plaintit’l` into a transaction that Plaintif"l` would not have entered into had the information been
disclosed;

d. Breaclt of the express warranty with regard to services; and

e. Dei`endants’ unconscionable actions and/or courses of actions

43. Dcfendants committed unconscionable acts and made l`alse representations to Plaintif’l`.
44. Plaintiti'relied on these misrepresentations by Def`endants to their detriment These

misrepresentations were a producing cause ol` Plaintil"l"’s injuries in the form ol` actual damages

 

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consequential and incidental damages7 special damages in the form of loss of use of property
(both real and personal) and damage to credit, attorney’s fees and additional statutory damages
45. Plaintii`f is also entitled to mental anguish damages and statutory treble damages, because

the actions of Dei`endants were made knowingly and intentionally, with the intent that l’lairttif‘f

rely on the false misrepresentations ol` Defettdants.

MlSCELLANEOUS
46. All pleadings are made in the alternative When it is said herein that any Dcl`endant took
some action, or failed to take some action, it is meant that the Del"endants acted or failed to act in
such a manner through their fully authorized adjusters, agents, scrvants__ employees andfor
rcpresentatives, including but not limited to, each other. Under the laws of the State of Te,\'as,
Det`endants are fully responsible For the acts and omissions complained ol"herein. All conditions

precedent have been performed or have occurred
47. Any applicable statute of limitation is extended by the doctrine ot"estoppel_. waiver, fraud

andlor the discovery rule.

DAMAG ES ANI) PRAYER

48. Wherefore_. premises considered, Plaintiii herein, HANKAMER VENTURES, LP,
complains of Del`endants, MARKEL lNTERNAT!ONAL !NSURANCE COMPANY, LTD,
PROACTlVE CL.AlMS SERV!CE, INC. and GUL.F COAST CLAIMS SERV|CE OF
HOUSTON, lNC. and prays that Defendants be cited to appear and answer and that on a final
trial on the merits, P|aintili` recover from Def`endants the following

49. Plaintiff would show that all ol’tlte aforementioned acts, taken together or singularly,
constitute the proximate and/or producing causes of`damagcs sustained by Plaintil¥_

50. For breach of contract, PlaintilT is entitled to regain the benefit of the bargain, which is

the amount of the claims together with attorney’s fees

 

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SI. Economic and actual damages: including;
a. Out of pocket c.\;pensc$;
b. Cost of replacement;
c. Cost oi` rcpairs;
d. Loss of business:
e. boss of business incoine;
f. Loss of business personal property;
g. Loss ol" goodwill;
li. Replaccment cost valuc; and,
i. l.ost prolits.

52. l~`or noncompliance with the 'l`exas Uiifziii' Coinpetition and Unfair l’ractices Act` l’laintiff
is entitled to actual damages, which includes the loss olthc benefits that shouid have been paid
pursuant to the policy, including but not limited to direct and indirect consequential dantages,
mental anguislt, court costs and attorneys fees. For knowing conduct of the acts complained of`,
Plaintifi` asks i`or three times their actual damages Tl;`;X. lNS. CODE Section 541_060.

53. For noncompliance with the Texas Deceptit~'c 'l`radc Practices Act, Plaintiff` is entitled to
actual damages1 which include the loss of` the benefits that should have been paid pursuant to the
policy_. including but not limited to direct and indirect consequential damages, mental anguish,
court costs and attorneys fees- For knowing conduct of the acts complained ol", PlaintiH`asks l`or
three times their actual damages 'I`EX. INS. CODE Scction 54l .060.

54. For non compliance with Te.\'as Prompt Payrnent ol`Claiins Act, Plaintil"l" is entitled to the
amount oi" their claims as well as eighteen (13%) percent statutory intercst.

55. l~`or violation of the common law duty of good faith and l`air dealing, Plaintil:f is entitled
to actual damages, which include thc loss of the benefits that should have been paid pursuant to
the policy, including but not limited to direct and indirect consequential damages, mental
anguish: court costs, exemplary damagcs, prc-judgment interest, post-judgment interest and

attorneys fees, and for any other further relicf: either at law or in equity, to which the;,r may

 

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show themselves to be justly entitled

Re.<spectt“nll)r submitted,

By: Q¢ ¢/l S\ M
Roc@/ LAWDERMILK

State Bat' No. 9000l440

2630 Liberty

Bcaumont, rl`exas ?7702

(409) 838-1800

(409) 212-8836 - l`-`AX

rock§'@rocklaws.com

A'I`TORN EYS FOR PLAINTI F F(S}

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5 Acadiana Court, Suite_ B
Beaumont_. 'l`exas 77706
(409) 924-0802

(409) 515-1958 - Fax
ericedwardson@att.net

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SBOUbNoTY O‘I;fCHAMBERS

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lPATTl L. HEN_RY, Dli¢trict Clark

 
 
  
   

 

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2. Citation to Gulf Coast Claims Service of Houston, Inc.

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THE STATE OF TEXAS
TO: Gulf Coast Claims Service of l-Iouston. lnc.. may be served through their President and General l\/Ianager1
to wit: .lohnnv Michalel<, Sr., 1 1505 Chimnev Rock Road1 Houston, Texas 77035. Defendant.

NOTICE TO DEFENDANT: “You have been sucd. You may employ an attorney. If you or your
attorney do not file a written answer with the clerk who issued this citation by 10:0|] a.m. on the Monday

next following the expiration of twenty days after you were served this citation and petition, a default
judgment may be taken against you.”

Said answer may be filed by mailing same to: District Clerl<’s Ofiice, P. O. Drawer NN, Anahuac, Texas
7?514, or by bringing it to the office Our street address is 404 Washington Ave. and we are located on the third
floor of the Courthouse. The case is presently pending before the 344‘]‘ District Court of Chambers County
sitting in Anahuac, Texas, and was filed on the 30th day of Decernber, 2014. It bears cause number CV29090.

 

nANKAMER vENTuRisS. LP Platmiff
Vs.
MARKEL INTERNATIONAL msunANci~: coMPANY, L'rr), ar AL mandate

 

'l`he name and address ol` the Attorney for Plaintil°f ROCKY LAWDERMILK` 2630 LIBERTY,
BEAUMONT. TEXAS 77702.

The nature of the demands of said a true and correct copy of PLA[NTIFF’S ORlGlNAL PETIT]ON
accompanying this citation and made part hereof.

lssued under my hand and the seal of said court, at Anahuac, Texas this the 2'3d day of_January, 2015.

 

  

 

 

l//o/ PATTI L. l'IENRY, DISTRICT CLER_K
ne 'a»,.(/O;¢-z CIW COUNTY, TEXAS
a :.
_.a§ BY dutlo/t)ot…
¢‘£l<__`__$ l-lé'alher Lanfelman, Deputy
’//,,,,' s co\}“\\\\\‘ oFFICER=s RETURN
Came to hand iih"tllli“ day of , 20___, at o’clock H.M.
Executed at . _f‘; within the County ot` , at o’clock _.M.
On' thc _.day`i')f: , 2{)_, by delivering to the within named

 

 

each, in person, _a_true"c`opy of this citation together with the accompanying copy of the motion, having first
attached such copy"ofhcitation and endorsed on such copy of citation the date of delivery

Total fee for serving thi`s_ citation $

To certify Which witness-by hand officially

 

Constable of County, Texas

By

Deputy

 

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3. Citation to Proactive Claims Serve, Inc.

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THE STATE OF TEXAS
TO: Proactive Claims Service. lnc., mav be served through their registered agent, to wit: Douglas Ouintero.
5811 Saddle Bred Drive_ Houston. Texas 77084. 'Defendant.

NOTICE TO I)EFEN_DANT: “You have been sued. You may employ an attorney. Ii` you or your
attorney do not tile a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday
next following the expiration of twenty days after you were served this citation and petition, a default
judgment may be taken against you.”

Said answer may be filed by mailing same to: District Clerk’s Of`fice, P. O. Drawer NN, Anahuac, Texas
77514, or by bringing it to the oti`lce. Our street address is 404 Washington Ave. and we arc located on the third
floor of the Courthouse. The case is presently pending before the 344“‘ District Court of Chambers County
sitting in Anahuac, Texas, and was filed on the 30“‘ day of December, 2014. lt bears cause number CV29090.

 

HANK_AMER VENTURES_ LP . Plaintiff'
Vs.
MARKEL IN'l`ERNATIONAL lNSURANCE COMPANY, LTD, ET AL d Defendants

 

The name and address of the Attomey for Plaintift` ROCKY LAWDERMILK, 2630 LIBERTY.
BEAUMONT. TEXAS ???02.

The nature of the demands of said a true and correct copy of PLAlNTlFF’S ORIGINAL PETITION
accompanying this citation and made part hereof.

issued under my hand and the Seal of` said court, at Anahuac, Texas this the 2"d day of January, 2015.

       

 

 

 

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On the day of , 20_____, by delivering to the Within named

 

 

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attached such copy of citation and endorsed on such copy of citation the date of delivery

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Constable of` County, 'l`cxas

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Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 18 of 26

4. Citation to Markel International Insurance Company Ltd.

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 19 of 26

THE STATE OF 'I`EXAS
TO: Marl<el International Insurance Cornpany L”I`D1 may be served With process bv certified mail return receipt
requested throth amr officer of the companyr at 4521 Highwoods Parl<wav;_Glen Allen` Virginia 23060-6148.
Said Defendant can be served through the 'l`exas Commissioner of lnsurance1 to wit: Mike Geeslin. 333
Guadalune St.. Suite 2-5l01 Austin. 'l`exas 78701. Dct`endant.

NOTICE TO DEFENDANT: “You have been sued. You may employ an attorney. lt you or your
attorney do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday
next following the expiration of twenty days after you were served this citation and petition, a default
judgment may be taken against you.”

Said answer may be filed by mailing same to: District Clerk’s Ofiice, P. O. Drawcr NN, Anahuac, Texas
77514, or by bringing it to the office. Our street address is 404 Washington Ave. and we are located on the third
floor of the Courlhouse. The case is presently pending before the 344“‘ District Court of Chambers County
sitting in An'ahuac, Texas, and was filed on the 30"‘ day of December, 2014. lt bears cause number CV29090.

 

HANKAMER VENTURES_ LP Plaintit`f`
VS.
MARKEL IN"l`E.RNATlONAL lNSURANCE COMPANY, LTD, E'l` AL Defendants

 

r1`he name and address of the Attorney for Plaintit`f ROCKY LAWDERl\/IILI<;L 2630 L-IBERTY.
BEAUMONT. TEXAS 77702.

'l`he nature of` the demands of said a true and correct copy of PLAINTIFF’S ORIGINAL PETlTlON
accompanying this citation and made part hereof

lssued under my hand and the seal of said court, at Anahuac, Texas this the 2“d day of .lanuary, 2015.

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Executed at ' 7 - Within the County of , at o’clock ___.M.
On the day cfr , 20*_, by delivering to the within named

 

 

each, in person, a true copy ot` this citation together with the accompanying copy of the motion, having first
attached such copy of citation and endorsed on such copy of citation the date of" delivery

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Constable of County, Texas

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Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 ' Page 20 of 26

5. Gulf Coast Claims Srvice of Houston, Inc.’s Original Answer

Case 4:15-cV-OO431 Document 1-4 Fl|ed m TXSD on 02/16/15 Page 21 of 261/28/20152:26;4
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HANKAMER VENTURES, LP § |N THE DlSTRICT C! UfQT OF

   

Cause No. CV29090 Byj`

    

V. CHAMBERS COUNT‘{, TEXAS

. §
§
MARKEL |NTERNATIONAL §
INSURANCE COMPANY, LTD, §
PROAC-TIVE CLA|MS SERVICE, lNC., §

§

§

AND GULF COAST CLA|MS

SERVICE OF HOUSTON, lNC. 253RD JUD|ClAL DlSTRlCT

DEFENDANT’S ORlGlNAI=ANSWER
TO THE HONORABLE JUDGE OF SAID COURT:
NOW COMES, GULF COAST CLAIMS SERVlCE OF HO_USTON, lNC., Defendant
in the aboveentltled and numbered cause, and files the following Answer to Plaintiff’s

Otiginal Petition and would respectfully show unto the Court as follows:
l.

Defendant generally denies the allegations contained in Plaintiff's Orlginal Petition
and demands strict proof thereof, from a preponderance of the evidence, as required by
the Constitution and laws of the State of Texas.

ll.

Pursuant to Rule 216 of th"e Texas Rules of Clvit Procedure, Defendant hereby
makes demand and application for jury lrial.

WHEREFORE, PREMISES CONS|DERED, Defendant prays that upon final trial
and hearing hereof that Plaintiff take nothing of and from Defendant, that Defendant
recover costs of Court, and for such other and further relief, general and special, at law and

in equity, to which Defendant may be justly entitled

 

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 22 of 26

 

 

. _L,N PATRiCK R|GlBY, JR_

- State Bar No_16916100

" 5615 Kirby Drive, Suite 550
Houston, Texas 77005
(713) 600~4700
(713) 600-0702 (FAX)
rigby@rigby|aw.com
A'l“l’ORNE-YS FOR DEFENDANT
GULF COAST CLAIMS SERV|CE
OF HOUSTON, INC_

§§RT|F!CATE._OF S_E._RVICE
| do hereby certify that on this the 28?TH day of January, 2015, a true and correct
cop_y of the above and foregoing instrument was forwarded to the following counsel of
=record: n v
Rocky Lawderrni|k

2630 Liberty
Beaumont, Texas 77702

 

 

 

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 23 ofz§}%:gz?&% PM

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Cause No- CV29090

a

 

By:

HANKAMER VENTURES, LP _ § |N THE DISTR|CT CC}g

V.- § CHAMBERS COUNTY, TEXAS
§

MARKEL lNTERNATlONAL §

lNSURANCE COMPANY, LTD, §

PROACT|VE CLA|MS S'ERV|CE, INC., §

AND GULF COAST CLA|MS §

SER-VICE OF HOUSTON, |NC. § 253RD JUD|CEAL DISTRICT

DEMAND FOR JURY TRIAL

 

TO THE HONORABLE JUDGE OF SA!D COURT:
Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Defendant, GULF

COAST CLA|MS SERV|CE OF HOUSTON, lNC., hereby makes demand and application

forjury trial and tenders herewith a jury fee.

 

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 24 of 26

Respectful|y sub 7

 
    

R_ fPATRICK`RlGBY, JR.

`até Bar No. 16916100
56'¥5 Kirby Drive, Suite 550
Houston, Texas 77005
(713) 6004700
(713) 600~0702 (FAX)
rigb@ngby_law.com
ATTORNEYS FOR DEFENDANT
GULF COAST CLAIMS SERVICE

OF -HOUSTON, lNC.

CERT|F|CATE.OF SERV!CE
l do hereby certify that on this the 28TH day of Januar__y, 2015, a true and correct

copy of the above and foregoing instrument was forwarded to the following counsel of

record:

Rocky Lawdermilk
2630 Liberty
Beaumont. Texas 77702

  

 

  

;'En'*’PArchK ` ' ` "

CERT!F¥ED TRUE AND CORRE€T COPY CERT]FICATE
THE STA'£‘E OF TEXAS
COUNT¥ OF CI-IAMBERS
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copy of the originators file and mr re rd in any officel

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PATTI L. H!:`,NRY, Di~str'lct Clerlc

 
  
  

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 25 of 26

6. Patrick Rigby, Jr.’S Vacation Letter

Case 4:15-cV-OO431 Document 1-4 Filed in TXSD on 02/16/15 Page 26 of 26
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RIGBY, RIGBY & CAVER - assess

By: il Deputy

   

 

REN PATRICK RleBY. JR. 5615 KIRBY DRIVE RIGB\{@RI§_BYLAW:__ _ivl
MANAG|NG SHAREHotoER SurrE 550 `
HouSToN, `D( 77005

713.600.4700 (MAIN) 1713.600.0702 (FAX):

February 4, 2015

RE: Causc No. CV 29090; Harri=:r:mer mem, LP 1)_ Mm:éef111/emotional rf a/; lo the 255"d judicial
Distriet Court oF Chambers County, Tc):as

Dcar Clerk:

This is to advise thatl have plans to be on vacation the following dates in 2015:

july l3-july 17
july 20-_]uly 24
july 27-]uly 31
Novembcr lG-Novcmber 20

I would therefore ask that no hcan`ngs, trials or other proceedings be set in any cases in which I am
counsel of record during that period of time or the immediately following weck_

Thank you for your assistance and cooperation in this regard Should you have any quest:ions, please

do not hesitate to contact me.

Vcry truly _vours,
/s/Ren Pat_tick Rigby, jr.

Ren Patrick Rigby,jr_

RPR/mc

CERT¥FIED TRUE AND CORRECT COPY CERTIFICATE
THE sTATE oF TEXAS

COUNTY OF CHAMBERS

The above and forgoing is a full, true and correct photographic
copy of the original on tile and on record in my aim
Colltait'ii

Anest ` " " ` AD
PATTI L. HENRY, Diii£l'ict Clel'k
Chambers County, 'l§x'

 
  
      
       
 

